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          In the United States Court of Federal Claims
                                     No. 20-1237C
                                  (Filed: July 2, 2021)

                                          )
 TEJA RAVI,                               )
                                          )
                     Plaintiff,           )
                                          )
 v.                                       )
                                          )
 THE UNITED STATES,                       )
                                          )
                     Defendant.           )
                                          )

                                      O RDER

       Defendant’s motion, ECF No. 26, filed July 2, 2021, seeking leave to file an
exhibit to its appendix, ECF No. 25, also filed July 2, 2021, via-CD is GRANTED.
Defendant is directed to complete this filing by Wednesday, July 7, 2021.

      IT IS SO ORDERED.



                                                          s/Nancy B. Firestone
                                                          NANCY B. FIRESTONE
                                                          Senior Judge
